




Filed 10/29/15 by Clerk of Supreme Court

IN THE SUPREME COURT

STATE OF NORTH DAKOTA







2015 ND 256









In the Interest of T.A.G.



Julie Lawyer, 		Petitioner and Appellee



v.



T.A.G., 		Respondent and Appellant







No. 20140445







Appeal from the District Court of Burleigh County, South Central Judicial District, the Honorable Gail Hagerty, Judge.



AFFIRMED.



Per Curiam.



Pamela A. Nesvig, Assistant State’s Attorney, 514 East Thayer Avenue, Bismarck, ND 58501, for petitioner and appellee.



James D. Sandsmark, 921 Second Avenue South, Fargo, ND 58103, for respondent and appellant.

Interest of T.A.G.

No. 20140445



Per Curiam.

[¶1]	
T.A.G. appealed from a district court order denying his petition for discharge from civil commitment as a sexually dangerous individual. &nbsp;T.A.G. argues the district court erred in finding clear and convincing evidence supporting his continued commitment. &nbsp;We conclude the district court’s findings are supported by clear and convincing evidence and are not clearly erroneous. &nbsp;We affirm under N.D.R.App.P. 35.1(a)(2).

[¶2]	Gerald W. VandeWalle, C.J.

Carol Ronning Kapsner

Lisa Fair McEvers

Daniel J. Crothers

Daniel J. Crothers



[¶3]	The Honorable John T. Paulson, S.J., sitting in place of Sandstrom, J., disqualified.


